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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MARYLAND
                                (Southern Division)

WILLIAM SPONN, Individually on Behalf of    )   Civil Action No.:   ~~~~~~~~




All Others Similarly Situated,              )
7B West Mystic Avenue                       )   COMPLAINT FOR VIOLA TIONS OF
Mystic, CT 06355                            )   THE FEDERAL SECURITIES LAWS
                               Plaintiff,   )
       vs.                                  )   CLASS ACTION
                                            )
EMERGENT BIOSOLUTIONS, INC.,                )   DEMAND FOR JURY TRIAL
HQ:                                         )
400 Professional Drive, Suite 400           )
Gaithersburg, MD 20879                      )
                                            )
Registered Agent:                           )
 The Corporation Trust Company              )
 Corporation Trust Center                   )
 1209 Orange Street                         )
 Wilmington, DE 19801,                      )
                                            )
and                                         )
                                            )
FUAD EL-HIBRl,                              )
13340 Signal Tree Lane                      )
Potomac, MD 20854,                          )
                                            )
and                                         )
                                            )
DANIEL J. ABDUN-NABI,                       )
24490 New Post Road                         )
Saint Michaels, MD 21663,                   )
                                            )
and                                         )
                                            )
ROBERT G. KRAMER,                           )
6872 Oleander Lane                          )
Portage, MI 49024,                          )
                                            )
and                                         )
                                            )
ADAM HAVEY,                                 )
1200 Holt Road                              )
Mason, MI 48854,                            )
                                            )
                            Defendants.     )
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       Plaintiff William Sponn, individually and on behalf of all others similarly situated, by

Plaintiff's undersigned attorneys, for Plaintiff's complaint against Defendants, alleges the following

based upon personal knowledge as to Plaintiff and Plaintiff's own acts, and upon inf01mation and

belief as to all other matters based on the investigation conducted by and through Plaintiff's

attorneys, which included, among other things, a review of Securities and Exchange Commission

("SEC") filings by Emergent Biosolutions Inc. ("Emergent" or the " Company"), as well as media

reports about the Company and conference call transcripts. Plaintiff believes that substantial

additional evidentiary supp01i will exist for the allegations set forth herein after a reasonable

opportunity for discovery.

                                       NATURE OF THE ACTION

        1.       This is a securities class action on behalf of all purchasers of the common stock of

Emergent between January 11, 2016 and June 21 , 2016, inclusive (the " Class Period"), seeking to

pursue remedies pursuant to §§ 1O(b) and 20(a) of the federal securities laws. Defendants include

Emergent and certain of it senior executives and/or directors.

        2.       Defendant Emergent is a specialty biopharmaceutical company. The Company's

primary source ofrevenues is sales of its only U.S. Food and Drug Administration ("FDA")-licensed

product, BioThrax (anthrax Vaccine Adsorbed) ("BioTlu·ax"), an antlu·ax vaccine, to the U.S.

goverrm1ent.

        3.       Emergent' s antlu·ax vaccine is the only one licensed by the FDA, giving the

Company a virtual monopoly over anthrax vaccines, and the U.S. govermnent has historically

purchased almost all of the Company' s BioThrax production. In September 2011 , Emergent entered

into a five-year procurement contract with the U.S. govermnent. By March 31, 20 16, Emergent had




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sold approximately 39 million of the 44.75 million doses called for by the 2011 procurement

contract to the U.S. govenu11ent.

       4.        By the start of the Class Period, Emergent reported having sold all of its BioThrax on

hand and being on track to complete construction of a massive expansion ofits BioThrax production

facilities in collaboration with (and funded by) the U .S. govenunent. Instead of the seven to nine

million doses annually the Company then had the ability to produce, the new facility would allow it

to produce another 20 to 25 million doses annually, permitting the Company to provide all of the

antlu·ax vaccine doses Emergent said the U.S. government sought to purchase in order to build the

U.S. Strategic National Stockpile ("SNS") to 75 million does over the following five years .

       5.        During the Class Period, defendants issued materially false and misleading statements

regarding the Company's business and financial prospects. Specifically, Emergent claimed the U.S .

government's strong and growing demand for BioThrax was keeping the Company on track to

receive a renewal of its lucrative 5-year exclusive anthrax vaccine procurement contract with the

U.S . govenunent. Emergent also repeatedly emphasized the U.S. government's implied ongoing

strong -even growing - demand for BioThrax in light of the U.S. government's funding of

Emergent' s massive expansion of its BioTlu·ax production facility, claiming it would enable the

Company to manufacture some 20 to 25 million additional doses ofBioTlu·ax annually, primarily to

be sold to the U.S. government over the following five year period in order to build the U.S.

govenm1ents' SNS of Emergent' s anthrax vaccine to 75 million doses.

        6.       As a result of defendants' false and misleading Class Period statements, the

investment community was led to believe that the U.S. government' s demand for BioThrax remained

strong and even growing, such that Emergent was on track to sell an estimated 19 million doses of

Bio Tiu-ax to the U.S. govenm1ent during 2016 alone. Investors were further led to believe that the




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U.S. government's demand for BioTlu·ax was increasing and that upon completion of the build-out

of the massive manufacturing expansion, the U.S. government's demand for Emergent' s first-

generation anthrax vaccine would expand to its new production capacity.

       7.        Defendants' materially false and misleading statements had their intended effect,

causing the price of Emergent common stock to rise, reaching a Class Period high of $44.38 by June

7, 2016. Emergent' s senior executives then cashed in, with the four executives named as defendants

herein alone selling more than $14.5 million of their personally-held shares of Emergent common

stock to the unsuspecting investing public. These sales were highly unusual both in scope and

timing as several of the selling defendants named herein (and identified below) had not sold any

shares at all since November 2015. Furthermore, cashing out their shares in the spring of2016 made

no economic sense if these executives then truly believed that the Company was on the cusp of

securing another mammoth exclusive contract to sell its anthrax vaccine to the U.S. government.

       8.        Unbeknownst to investors, the U.S. government's demand for BioT!u·ax had actually

declined significantly as the U.S. government had made its top priority funding the development of

alternative, next generation antlu·ax vaccines - those that worked quicker by requiring fewer than the

three doses that BioThrax required.       Emergent knew the govenunent was prioritizing the

development of quicker-acting, alternative next-gen antlu-ax vaccines requiring only one or two

doses because Emergent itself was in the process of trying to develop its own such alternative next-

gen anthrax vaccine to meet that demand.

        9.       On June 22, 2016, before the opening of trading, Emergent issued a press release

disclosing that the U.S. Department of Health and Human Services ("HHS") had issued two official

solicitation notices indicating that not only was the U.S. government not purchasing more BioThrax,

it would only be purchasing 29.4 million doses of Emergent' s BioT!u·ax vaccine for the U.S.




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government's SNS over the following five years - approximately one-third less than the five-year

contract for 44.8 million doses it was replacing. The Company also disclosed that instead of more

first generation anthrax vaccine BioThrax, the U.S. government sought to procme between 14 and 27

million doses of a next-gen anthrax vaccine, once one was approved, and that the U.S. government

was putting its supply bid for the rest of its anthrax vaccine procurement out to other companies,

such that Emergent stood to lose its lucrative exclusivity.

        10.    In response to this news, the price of Emergent stock declined from its close of

$39.32 per share on the evening of.Tune 21, 2016 to close at $31.33 per share on June 22, 20 16 on

extremely heavy trading volume.

                                  JURISDICTION AND VENUE

        11.    The claims asserted herein arise under § § lO(b) and 20( a) of the Securities and

Exchange Act of 1934 (the "Exchange Act"), 15 U.S.C. §§78j(b) and 78t(a), and Rule lOb-5, 17

C.F.R. §240. l Ob-5. Jurisdiction is conferred by §27 of the Exchange Act, 15 U.S.C. §78aa.

        12.    Venue is proper in this District pursuant to §27 of the Exchange Act. Acts and

transactions giving rise to the violations of law complained of occmTed in this District.

                                          THE PARTIES

        13.    Plaintiff, William Spann, purchased Emergent common stock during the Class

Period, as described in the Ce1iification attached hereto and incorporated herein by reference, and

suffered damages thereon.

        14.    Defendant Emergent is a specialty biopharmaceutical company that develops,

manufactures and markets a portfolio of medical countermeasures for biological and chemical

threats. During the Class Period, Emergent had more than 40 million shares of common stock

outstanding, which shares traded in an efficient market on the New York Stock Exchange (''NYSE")

under the ticker symbol " EBS."


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       15.     Defendant Fuad El-Hibri ("El-Hibri") is, and was at all relevant times, the Founder,

Executive Chairman of the Emergent Board of Directors (the "Board"), Chai1man of the Board's

Strategic Operations Committee and a Member of the Board's Pricing Committee.

       16.     Defendant Daniel J. Abdun-Nabi ("Abdun-Nabi") is, and was at all relevant times, the

President and Chief Executive Officer (" CEO") of Emergent and a Member of the Board's Pricing

Committee and a Member of the Board's Strategic Operations Committee.

       17.     Defendant Robert G. Kramer ("Kramer") is, and was at all relevant times, the Chief

Financial Officer ("CFO"), the Executive Vice President of Corporate Services Division and the

Treasurer of Emergent.

       18.     Defendant Adam Havey ("Havey") is, and was at all relevant times, the Executive

Vice President of Emergent' s Biodefense Division.

       19.     Defendants El-Hibri, Abdun-Nabi, Kramer and Havey are sometimes referred to

herein as the "Individual Defendants."

                         BACKGROUND TO THE CLASS PERIOD

       20.     According to the U.S. National Library of Medicine, BioThrax was first made

available as an antlu·ax vaccine in 1970.

       21.     Defendant Emergent originally commenced operations as BioP01i Corporation

("BioPort") in September 1998 tlu·ough an acquisition of the Michigan Biologic Products Institute,

which included: acquired rights to the marketed product BioThrax, vaccine manufacturing facilities

at a multi-building campus on approximately 12.5 acres in Lansing, Michigan and vaccine

development and production know-how.

       22.     In December 2001 , just following the 9111 tenori st attacks, the FDA approved a

supplement to BioPort's manufacturing facility license for the manufacture of BioThrax.




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       23.     In June 2004, the Company comp leted a corporate reorganization, changing its name

to Emergent Biosolutions Inc.

       24.     Following a study by scientists from the U.S. Centers for Disease Control and

Prevention (the "CDC"), on December 19, 2008, Emergent received final FDA licensing for use of

BioThrax five doses for intramuscular injection.

       25.     In July 2010, the Company was awarded a six-year contract (ending in July 2016)

from the U.S. Biomedical Advanced Research and Development Authority ("BARDA") to expand

its Lansing, Michigan facility that produces BioThrax. At the time of the contract signing, Emergent

produced BioThrax only at Building 12 at the Lansing facility, which produced seven to nine million

doses a year. Pursuant to the BARDA contract, Emergent was to construct and obtain FDA approval

to significantly expand its manufacture ofBioThrax at a new Building 55, which was to be capable

of producing 20 million to 25 mi llion doses a year.

       26.     On September 30, 2011, Emergent entered into a five-year contract with the CDC to

supply up to 44.75 million doses ofBioThrax to the CDC.

       27.     In April 2014, the FDA granted BioThrax an "orphan drug" designation for the pre-

exposure use of BioThrnx as a vaccine, ensuring Emergent exclusivity over its manufacture and

distribution of BioThrax. According to the CDC, Bio Tiu-ax had historically only been licensed for

use by the FDA before exposure to anthrax, but on November 23, 2015 , the FDA approved the

vaccine for use after exposure as well.

       28.     BioTlu·ax ctmently remains the only antruax vaccine approved for use and licensed

by the FDA. The primary purchaser of BioThrax has been the CDC, which buys BioThrax for the

U.S. Strategic National Stockpile (the " SNS"). The U.S. government uses the SNS to protect the

public in the event of a national emergency like a terrorist attack. As such, the substantial majority




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of the Company's revenues have historically been derived from its sales of BioThrax to the U.S.

government. Emergent derived $293.9 million of its total 2015 product sales of $356.9 million, and

$245.9 million of its total 20 14 product sales of$3 l l.9 million, from the sale ofBioThrax.

      MA TEIUALLY FALSE AND MISLEADING CLASS PEIUOD ST A TEMENTS

       29.       The Class Period starts on January 11 , 2016. On that day prior to the opening of

trading, Emergent issued a press release entitled "Emergent Biosolutions A1mounces Preliminary

2015 Financial Results, Provides 2016 Financial Outlook, And Outlines New Five-Year (20 16-2020)

Strategic Growth Plan." The rel ease stated that the Company would outline its 2016-2020 strategic

growth plan in detail on January 11 , 20 16 during a presentation at the 34th Annual J.P. Morgan

Healthcare Conference to be held after the close of trading, stating that the Company would "discuss

preliminary 20 15 financial results, recap the accomplislunents from its previous tlu·ee-year growth

plan, and provide a 2016 financial outlook." The title of the January 11th release emphasized the

fo llowing 20 16 Forecast and 20 12 Key Financial and Operational Goals in pertinent part:

             •   2016 Forecast:

                    o   Total revenues of $600 to $630 million

                    o   GAAP net income of $75 to $85 million

                    o   Adjusted net income of $90 to $100 million

                    o   EBITDA of $ 150 to $160 million

             •   2020 Key Financial and Operational Goals:

                    o   Annual revenue of $1B

                    o   > 10% of revenue from ex-US markets

                    o   Net income CAGR of >20%

                    o   Six products in clinical or advanced development, with at least three
                        being dual use, prioritizing those with third party funding




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       30.        Fuither detailing the Company's 2016 Forecasts and expressly representing that the

Company was then on track to achieve them by emphasizing the U.S. government's planned

purchases of BioThrax during 2016, the release stated in pertinent part as follows:

       Full Year 2016

       For the full year of 20 16, the company forecasts total revenues of $600 to $630
       million, driven by growth in BioT/trax sales which are anticipated to be between
       $305 to $320 million , continued domestic and international sales of the other
       Biodefense division products, and continued robust development funding through
       contracts and grants revenues. The company also forecasts full year 2016 GAAP net
       income of $75 to $85 million, non-GAAP adjusted net income of $90 to $100
       million, and EBITDA of $150 to $160 million (see "Reconciliation of GAAP Net
       Income to Adjusted Net Income and EBITDA" for a definition of terms and a
       reconciliation table).

       The company's outlook for 2016 includes the impact of a successful spin-off of
       Aptevo Therapeutics in mid-2016 and continuous delivery ofBioThrax to the CDC
       under an anticipated follow-on, multi-year procurement contract, but does not
       include any estimates for BioThrax deliveries from Building 55, the company's
       large scale BioTlzrax manufacturing facility , or any estimates for potential new
       corporate development or other M&A transactions.

       Ql 2016

       For the first quarter of2016, the company anticipates total revenues of$105 to $ 120
       million.

       31 .       Fmiher detailing the Company's 2016-2020 Strategic Growth Plans and representing

how the Company was on track to achieve them through planned U.S. government purchases of

BioThrax, the release stated in pertinent part as fo llows:

       (Ill)      2016-2020 Strategic Growth Plan

       The company announced today a growth plan that is intended to advance its mission
       by expanding and diversifying its business as measured by achieving the following
       goals by December 31 , 2020:

              •   Annual revenue of $1 B

              •   > 10% of revenue from ex-US markets

              •   Net income CAGR (2016-2020) of>20%



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              •   Six products in clinical or advanced development, with at least three being
                  dual use and prioritizing those with third party funding.

       To achieve the goals of the growth plan, tlte company intends to leverage its core
       competencies in government relations, medical countermeasure development,
       quality manufacturing, strategic acquisitions, and.financial discipline to execute
       on the following key strategies:

              •   Expanding its leadership positions in the public health tltreats market

              •   Developing innovative products in partnership with governments and NGOs

              •   Growing through revenue generating and accretive business and product
                  acquisitions

              •   Delivering attractive net income growth

              •   Enhancing culture to create a sustainable competitive advantage

        32.       The release fm1her quoted Defendant Abdun-Nabi representing that the Company

was on track to achieve its financial goals, through the sales of BioThrax to the U.S. government,

stating in pertinent pai1 as follows:

        Having successfully implemented our2012-2015 growth plan and delivered financial
        results in excess of our expectations, we are well-positioned for continued success
        and growth. Looking ahead we will remain focused on addressing the growing
        public health threats market and will build on our momentum to achieve our newly
        established 2020 goals of $1B in revenue, generating more than 10% of our revenue
        from ex-US markets, six products in clinical or advanced development with a focus
        on products supported by third party funding, and a five-year net income CAGR of
        >20%. We continue to strive toward our vision of protecting and enhancing 50
        million lives by 2025.

        33.       On February 25, 2016, after the close of trading, Emergent issued a press release

announcing its fiscal 2015 financial results for the period ended December 31, 2015 and reiterating

its fiscal 2016 guidance. The Company once again stated that largely through the sales of BioThrax

to the U.S. government, it remained on track to achieve " Full Year: revenue of$600 to $630 million;

GAAP net income of $75 to $85 million, non-GAAP adjusted net income of$90 to $100 million,

and EBJTDA of$150 to $160 million." The press release also emphasized as one of the Company's




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"2015 Business Accomplishments" its "[c]ontinued progress towards achieving licensure of

Building 5 5." The release also provided the following further detail supporting its 2016 guidance,

including the "anticipated follow-on, multiyear procurement contract" with the CDC for BioThrax,

stating in pertinent part as follows:

       For the full year of 2016, the Company reaffirms its forecast for total revenues of
       $600 to $630 million, driven by growth in BioT11rax sales of $305 to $320 million,
       continued domestic and international sales of the other Biodefense division products,
       and continued robust development funding through contracts and grants revenues.
       The Company also forecasts full year 2016 GAAP net income of$75 to $85 million,
       non-GAAP adjusted net income of $90 to $100 million, and EBITDA of $ 150 to
       $160 million .... Tile Company's outlook for 2016 includes the ... continuous
       delivery of Bio Tlzrax to the CDC under an anticipated follow-on, multiyear
       procurement contract, but does not include any estimates for BioThrax deliveries
       from Building 55, the Company's large scale BioThrax manufacturing facility ....

        34.     During a conference call held with analysts and investors held later that day to discuss

the Company's then-present business metrics and 2016 guidance, Defendant Abdun-Nabi opened the

call stating that 2015 had been "a very successful year" for Emergent and reiterated the previously-

provided 2016 guidance based in large pmi upon the Company's remaining on track to be awarded

the "anticipated follow-on contract with the CDC," Defendant Abdun-Nabi stated in pe1iinent part as

follows:

        In 2016, we are forecasting continued growth in revenues, net income and EBITDA.
        The financial forecast that we announced today reaffinns the guidance that we
        provided at the JPMorgan Healthcare Conference in January. We plan to achieve our
        2016 revenue target based on a number offactors. First, continued BioThrax sales
        under our existing procurement contract, as well as under the anticipatedfollow-
        on contract with the CDC; second, tlu·ough anticipated sales of our other portfolio
        products to the U.S. government under existing procurement contracts; third, tlu·ough
        an expansion of our contract manufacturing services in both our Maryland and
        Winnipeg operations; fourth, by securing additional funding for contracts and grants,
        both existing and new; and finally, through increasing international sales.

        35 .    Addressing the Company's then-ongoing efforts with the FDA to expand its

BioTlu·ax production tlu·ough the build-out of Building 55 and the anticipated renewal ofits lucrative

BioTlu·ax procurement contract with the CDC, Defendant Abdun-Nabi assured investors the


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Company remained on track, stating in pertinent part as follows during his prepared opening

remarks:

       Turning now to Building 55. As we previously announced, the FDA requested that
       we perform a reanalysis on one of the more than 30 assays used for comparabi lity
       before filing our sBLA. We are on track to complete their request during tile.first
       half of the year, after which we expect to submit the sBLA. As a reminder, we
       anticipate a PD UFA date of/our montltsfollowing acceptance by the FDA of the
       sBLA.filing.

       Moving on to our follow-on BioTlu·ax procurement contract w ith the CDC, we ltave
       !tad a preliminary meeting and exchanges ofcommunication witlt the CDC on this
       topic. Til e CDC recognizes tile importance of tile antltrax preparedness and with
       FY2016 /muling levels, we anticipate tit at a follow-on multi-year contract will be
       put in place to ensure an uninterrupted supply of BioThrax tit rough tile SNS.

       36.     Discussing the ongoing negotiations with the CDC concerning the "follow-on multi-

year contract," though Defendant Abdun-Nabi refused to disclose what the relevant U.S. government

agencies had told Emergent about the U.S. government' s demand for Bio Trax, he emphasized that

the U.S. government's demand for BioTlu·ax was strong, stating in pertinent part as follows:

       Moving on to our follow-on BioThrax procurement contract with the CDC, we have
       had a preliminary meeting and exchanges of communication with the CDC on this
       topic. Tile CDC recognizes tile importance of the anthrax preparedness and with
       FY2016/unding levels, we anticipate tltat afol/ow-on multi-year contract will be
       put in place to ensure an uninterrupted supply of BioT/zra..'I: through til e SNS.

       37.     Defendant Kramer then expanded upon Defendant Abdun-Nabi 's 20 16 guidance

comments during his own prepared opening remarks, assuring investors the Company remained on

track to achieve the lucrative renewal contract with CDC, stating in pe1iinent part as fo llows:

       Across the board, 20 15 performance was substantially improved over the prior year,
       positioning us to achieve our 2016financial goals, which include total revenues of
       between $600 million and $630 million; GAAP net income ofbetween $75 million
       and $85 million; adjusted net income of between $90 million and $100 million;
       and finally, EBITDA of between $150 million and $160 million. Tit is forecast
       includes the impact of .. . continuous delivery of BioThrax to the CDC under an
       anticipated follow-on multi-year procurement contract, but impo1iantly does not
       include any esti mates for BioThrax deliveries from Building 55 ....




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         38.    During the Q&A po11i on of the call , Defendant Abdun-Nabi explicitly stated that the

Company then " [saw] a high degree of confidence in getting that building on line and approved this

year."

         39.    During the Q&A session, Defendant Abdun-Nabi was also asked to "just describe

how - as you negotiate the next contract with the CDC, how do you contemplate assuming Building

55 comes on line, but what if it doesn't, you have to s011 of outline two scenarios when you negotiate

that contract, how does that work?" Essentiall y, the analyst was asking what the Company's

negotiating posture with the CDC was in light of the fact that Building 12 could only then produce 7-

9 million does annually, whereas once Building 55 came on line, Emergent could produce 20-25

million doses, inquiring w hether the Company was able to negotiate the sale of its soon-to-be much

larger capacity, with BioThrax production at Building 55 not yet having been approved by the FDA.

Responding to this analyst' s question, Defendant Abdun-Nabi refused to reveal the content of the

ongoing negotiations, but confirmed the implicit imp lication that the multi-year renewal contract

then being negotiated w ith the CDC did in fact contemplate much larger sales to the U. S.

government, with Defendant Abdun-Nabi stating in pertinent part as follows:

         [W]ith respect to the contract negotiations, you put your finger on an interesting and
         dynamic point, which is what do you do with respect to Building 12 versus Building
         55? And we have some pretty concrete thoughts there in te1ms of how we will handle
         that. I prefer not to share that w ith you because it does get into some oftile details of
         tile contract negotiation thinking that we have internally, and as you can appreciate,
         it's important that we keep that confidential as pai1 of this entire process. But we
         have thought that through and we have some - I think some creative solutions to
         how that could work going forward.

         40.     During the Q&A session Defendant Abdun-Nabi also responded to an analyst's query

concerning the "longer te1m competitive landscape for anthrax vaccines" the Company then faced,

stati ng in pe11inent part that the Compan y did not "see" competitors developing a meaningfull y




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competitive product to its existing BioThrax product "in the next five- maybe even five years to 10

years, certainly within the lifetime of the upcoming contract that we anticipate with the CDC."

        4 l.    Also during the Q&A session, Defendant Abdun-Nabi responded to another analyst's

question concerning the ongoing negotiation of the "follow-on contract with the CDC," emphatically

stating agai n that "it's safe to say the CDC does continue to recognize the importance of being

preparedfor the ant/tra.,-., threat. And with the fiscal year 2016/unding levels, we do anticipate the

follow-on multi-year contract will be in place to ensure that there is no interruption in this by

BioThrax to the SNS."

        42.     On February 29, 2016, Emergent filed its 20 15 Annual Rep01t on Form 10-K with the

SEC, which was signed by Defendants El-Hibri, Abdun-Nabi and Kramer, among others. The Form

10-K discussed the Company's need to extensively expand its BioThrax manufacturing capabilities

through its contract with BARDA at its much larger Buil ding 55 facility, purportedly to keep up with

the U.S. government' s growing demand for BioThrax. The Form 10-K stated in pe1tinent part as

fo llows:

        Our ctment contract with the Centers for Disease Control and Prevention, or CDC,
        an agency within the U.S. Department of Health and Human Services, or HHS,
        specifies that we supply up to 44.75 million doses of BioThrax into the Strategic
        National Stockpile, or SNS, over a fi ve-year period ending in September 2016. The
        maximum amount that could be paid to us under this current contract is
        approximately $1.25 billion, subj ect to avai lability of funding to the CDC. As of
        December 31, 2015, $1.1 billion in funding has been committed, of which
        approximately $1.0 billion has been delivered under the contract, which represents
        approximately 37 million doses. To date, the principal customer for BioThrax has
        been the U.S. government, specifically HHS (including CDC).

                                          *       *       *
        Biodefense Division

               We have a manufacturing facility, Building 12, focused on bacterial
        fermentation located at our 12.5 acre, multi-building campus in Lansing, Michigan.
        We currently manufacture BioThrax at the 100-liter scale in Building 12. To expand
        our existing BioThrax manufacturing capabilities, we have constructed adjacent to


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       Building 12 a large-scale, multi-product facility, or Building 55, capable of
       producing BioTllra.x at tile 1320-liter scale. In July 2010, we entered into a multi-
       year development contract with BARDA that provides up to $104 million of funding
       to support the work needed to approve the manufacturing of BioThrax in Building
       55. We continue to pursue FDA approval for BioThrax at this larger production
       scale. In February 2015, we completed the in-life phase of a pivotal nonclinical
       efficacy study designed to demonstrate that BioThrax manufactured at large scale in
       Building 55, is comparable to the BioTlu·ax currently manufactured in Building 12.
       Analysis of data shows that the primary endpoints were met. Data from this study
       will be used to suppo1t an expected mid-2016 submission of an sBLA to the FDA for
       Building 55 licensure, which we anticipate by year end 2016. Building 12 produces 8
       to 10 million doses ofBioThrax annually. Building 55 ltas tile potential to increase
       manufacturing capacity to an estimated 20 to 25 million doses annually, on a
       single manufacturing train.

                                          *       *       *
       Manufacturing Infrastructure

       Biodefense

               We have a manufacturing facility focused on bacterial fermentation located at
       our 12.5 acre, multi-building campus in Lansing, Michigan. We currently _
       manufacture BioThrax at the 100 liter scale at this facility. To augment our existing
       Bio Tlzrax manufacturing capabilities, we have constructed a large-scale, multi-
       productfacility capable ofproducing BioT/zrax at the 1320 liter scale. In July 2010,
       we entered into a contract with BARDA which provides funding to support the work
       needed to approve manufacturing of BioThrax at the larger scale.

       43.     On April 12, 2016 Emergent presented at the Needham Healthcare Conference.

Defendant Havey appeared for the Company and during his opening remarks stated: "we're going to

obtain 55 licensure and move from Building 12 small-scale to Building 55 large-scale

manufacturing for BioTltrax" and "[wje're going to secure a multiyear follow-on BioThrax

contract with the CDC." Responding to inquiries as to whether the Company anticipated any

competition in regards to the upcoming BioThrax renewal contract from other companies, Defendant

Havey just as emphatically claimed their was really no such competition and that the Company then

contemplated obtaining the renewal all for itself, stating in pertinent pait as fo llows:

       Yes, so right now the contracts have been sole-source contracts, because we 're the
       only licensed FDA products. And I would expect that to happen this time as well. I


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       know there are a few competitors in early-stage development, Phase 1; and I know
       some competitors are out there talking about EUA and the next 12 to 24 months. I'm
       not as optimistic as they are on that, obviously.

       But as of right now I think the requirement is an FDA-licensed product. And one
       of the more important points of that is the PEP indication that we just received
       licensure on -- now that that's licensed, the stockpile is no longer being managed
       under an EUA; I think it's a pretty high bar for some of our competitors. You know,
       we are a three-dose primary series with a PEP indication. I think that solidifies our
       position, at least in tlie short term.

                                           *     *       *
       That's a procurement contract, you should assume it's exclusively for BioThrax.
       Nobody can submit something to be procured at this point. So for all intents and
       piuposes, it would be a sole-source procurement contract for BioThrax.

       Different than a development contract, where there are other candidates where it can
       be (inaudible), and it is. But from a procurement perspective for the vaccine,
       currently BioThrax has the only license.

       44.     On April 18, 20 16, Emergent issued a release announcing that it had submitted its

supplemental Biologics License Application ("sBLA") to the FDA seeking approval of the

manufacture ofBioThrax in Building 55. The release emphasized that Emergent was expanding its

BioThrax production facilities in order to support additional sales of BioThrax to the U.S.

government based on the U.S. government's purportedly growing demand for BioThrax, expressly

referencing the U.S. govenm1ent's demand for "75 million doses" ofBioThrax for the SN S, stating

in pe11inent pai1 as follows:

       Building 55 has the potential to expand manufacturing capacity ofBioThrax to an
       estimated 20 to 25 million doses annually from the seven to nine million doses
       produced annually out of the currently-licensed facility . The capability to
       manufacture BioThrax at large scale positions the company to meet the
       government's desire ofstockpiling 75 million doses of a licensed anthrax vaccine.

        45 .    On May 5, 2016, after the close of trading, Emergent issued a press release

aimouncing its first quai1er 2016 financial results for the period ended March 31, 2016. The release

emphasized that the "CDC [had] notijie[d] the Company of its intent to award a follow-on




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BioTlzrax procurement contract on October 1, 2016" and stated that "[i]n transitioning to the

follow-on contract, the Company [was] temporarily postponing its 2016 financial guidance until

CDC confirm[ed]level ofQ2 and Q3 BioThrax procurement." Defendant Abdun-Nabi was quoted

in the release stating that Emergent was "extremely pleased that the CDC ha[ d] now confirmed its

intention to award a follow-on BioThrax procurement contract on October 1, 20 16," and that

"[ w ]ith [the Company's] large-scale manufacturing facility coming online, [Emergent] anticipate[d]

this [would] be a multi-year contract requiring significantly increased deliveries in order to satisfy

the U.S. govenu11ent's stated requirements for a licensed anthrax vaccine in the Strategic National

Stock pi le."

        46.     The release contained a section entitled " Update On CDC BioThrax Procurement

Contract," in which Emergent stated in pertinent part as follows:

        By letter dated April 1, 2016, the CDC informed the Company of its intent to award
        a follow-on BioThrax procurement contract, thereby ensuring an uninterrupted
        supply of BioThrax into the Strategic National Stockpile. The Company's cunent
        BioThrax procurement contract with the CDC is scheduled to expire on September
        30, 2016. The CDC reaffirmed their intent in a follow-up Letter dated April 26,
        2016, in which the CDC stated that their acquisition planning process is ongoing
        and that they project to issue an award for a follow-on Bio Thrax procurement
        contract on October 1, 2016.

        In its April 26 letter, the CDC further stated that it anticipates continuing to
        purchase doses of BioThrax in Q2 and Q3 of 2016 under the Company's current
        procurement contract, although it did not specify the number of doses to be
        purchased. The CDC did state that they anticipate the quantity to be less than the
        total remaining doses available to be purchased under the cmTent contract. The
        Company believes these Letters from the CDC reflect their transition planning
        associated with procuring BioThrax manufactured from the Company's large-
        scale manufacturing facility, Building 55, under a new multi-year (ollow-011
        contract expected to be in place on October 1, 2016.

         Until such time as the Company can secure greater clarity on the number of
         BioTl1rax doses to be delivered in Q2 and Q3, expected within the next 60 days, the
         Company believes it is prudent to temporarily postpone its financial guidance for
         2016.




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       47.     During a conference call held later that day with investors and analysts, Defendant

Abdun-Nabi continued his bullish mantra concerning the U.S. government's intent to significantly

expand its purchases of BioThrax from Emergent under the soon-to-be announced renewed

exclusive procurement contract once Building 55 was approved and came on line, and intentionally

negated any implication that the U.S. government's demand for BioThrax was waning, stating in

pertinent part as follows:

       Now let me turn in to Building 55 and our procurement contract with the CDC. As
       previously announced, last month, we submitted our sBLA for Building 55 to the
       FDA. We anticipate a typical FDA review cycle of four months, which includes a
       pre-approval inspection. Accordingly, we estimate that the review process will be
       completed in the fall of this year. We believe that with the sBLA being filed earlier
       than anticipated, and with BioThrax deliveries nearing completion under our ctment
       contract, the CDC has updated its thinking, on how best to transition from the
       current contract to the expected multi-yearfollow-on contract.

        To that end, we received a letterfrom the CDC dated April 1 informing us that their
        intent to award afol/ow-011 co11tractfor procurement ofBio Thrax, hereby ensuring
        an unintenupted supply of BioTlu·ax into the Strategic National Stockpile.

        As a reminder, our current BioThrax procurement contract with the CDC is
       scheduled to expire on September 30, 2016. The CDC reaffirmed its inte11t in a
       follow-up letter dated April 26, i11 which they have stated that their acquisitio11
       planni11g process is ongoing a11d that they project to issue an awardfor afollow-011
       contract on October 1, 2016. This is entirely consisting with our expectatio11 for
       co11tinued uninterrupted supply of BioTl1rax to the Strategic National Stockpile.

        While still in the April 26 letter, the CDC advised that - that they anticipate
        continued procurement of BioTlu·ax in the second quarter and third qumiers,
        although they had not specified the specific number of doses to be purchased.

        As stated, however, that the anticipated purchase in quantity is less than the total
        remaining doses under the contract. With these letters, we have some, but 11ot total
        visibility into the CDC's planning and thinking, allowi11g the process of
        transitioning to a follow-011 contract. We believe, their thinking has been
        injlue11ced by the earlier than expected traditio11 ofthe sBLA, the Building 55, the
        plausible lice11sure of that facility earlier tl1a11 previously forecast, and that will
        come into the e11d of tl1e delive1y schedule 011 our current contract. We've had
        initial conversations with the CDC, but have not had sufficient time to fully or
        properly address these important questions prior to our call today.




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       Thus until such time as we can secure greater clarity on a specific number of doses to
       be purchased in Q2 and Q3, we believe it's prudent to temporarily postpone our
       financial guidance for 2016. We expect that within the next 60 days, we wi 11 have
       clarification on the CDC's plans for the second quarter and third quarters and we will
       update you accordingly. We view this as part of the transition planning process
       and moving to a new follow-on procurement contract.

        And in our experience, situations like this with government agencies have always
        evolved in the iterative process requiring active engagement and effective
        management interactions.

       And I'd like to point out that over the course of our history, we have demonstrated
       the unique ability, to work with our government partners to our mutual benefit,
       and we 'II remain confident that we can do so in tit is space.

        48.     During the Q&A session, Defendant Abdun-Nabi engaged in the following colloquy

with a stock analyst from Cowen & Company, again doubling down on his denial when questioned

whether the U.S. government's demand for BioTlu·ax had declined in light of its express statement

that it would be purchasing less of the vaccine in the second and third quarters of fi scal 2016, stating

in pe1iinent part as follows:

        <Q - Marc Frahm>: .... So when we think about the contract that's remaining, can
        you confirm how many doses are actually remaining on that contract? And then there
        is kind of disconnect here between the CDC seemingly telling you they're going to
        take less than that contract in the next few quaiiers but then have a much larger
        dosage contracts coming right after that, right. And maybe, if you can give a little bit
        more clarity on, the machinations of government and how that would make sense on
        their paii?

       <A - Daniel J. Abdun-Nabi>: Yeah. Great question. So, I think you will see in the
       peer group that we had about 5.5 million doses remaining on the contract. And as I
        indicated, they will be buying additional quantities, Q2, Q3, and we'll get some more
        clarity around that. And I really don't see any inconsistency between - they 're
       saying that, there may be reductions in Q2 and Q3 and the need for a significant
       follow-on contract that goes for multiple years.

        They've repeatedly advised, policy makers as well as appropriators, publicly and
        privately, that they intend to purchase all of the doses, the anthrax vaccine that are
        being produced, in order to address these data requirements. And so this is truly a
        transition planning exercise and a timing exercise.

        So I don't see this as inconsistent, I think it's part ofa migration that, that needs to
        be done in the - I'll call it ordinary course. In some respects to explain the


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       machinations of the government agencies and how they work, probably beyond the
       length of the ... columns ... that they've made available to us. But suffice it to say
       that we as a team had extensive experience in understanding how they think and
       what might be the best way to address the concerns that they might have. So I
       remain confident that at the end of the day, we 're going to come out with a
       satisfactory conclusion for both Emergent and for our customer.

       49.     Dming the conference call, Defendant Abdun-Nabi expressly denied that that the U. S.

govermnent' s demand for Bio Tlu·ax had diminished, stating in pertinent part that Emergent did "not

anticipate any slowdown in the manufacturing and also with the B55 process being accelerated,

fit was] now looking at plans to implement that manufacturing earlier than previously expected."

And when asked if the U.S. government was seeking price concessions for the purportedly larger

future procurement orders, and about the duration of any renewal BioTlu·ax procurement contract

then under negotiation with the U.S. government, Defendant Kramer too doubled down on

Defendant Abdun-Nabi ' s prior bullish statements, stating in pertinent part that the contract

termination and renewal and bringing Building 55 online "all tie-in together," "[a]s you can

appreciate it, it's one big, beautiful package," and promising that "when we're ready to announce

the contract, I look forward to laying out all the terms that you can fully understand what they are."

Indeed, when asked specifically by another analyst " [a]s it relates the targeted dosage needs of the

govermnent, I think our guidance there was about $75 million. First question is, has there been any

change in that number?," Defendant Abdun-Nabi again emphatically responded " no we have not

heard any adjustment to the government-stated requirement."

       50.     Defendants' bullish commentary, effectively parlaying a temporary suspension of

guidance into positive news that the government was reall y just transitioning into significantly

increased purchases of BioThrax, had its intended effect and as the market impounded defendants'

statements over the next couple of weeks, the price of Emergent common stock closed up from its

close of $37.85 on Thursday, May 5, 2016 to close at $41.77 by May 18, 201 6.



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       51 .    On May 19, 2016, the Individual Defendants, joined by other Emergent executives

and Board members, conducted the Company' s 2016 annual general shareholder meeting, seeking

shareholder approval of a series of proposals, including the reelection of Defendant EI-Hibri to the

Emergent Board, advisory approval of the 2016 executive compensati on program, and an

amendment of the Company ' s stock incentive program to increase the number of stock options

available to be granted to the Company' s senior executives and directors by 3.75 million shares and

to increase the per participant limit on performance awards payable in cash per calendar year from

$750,000 to $2 million. Speaking on behalf of Emergent in supp011 of each of these proposals,

Defendant Kramer lauded the Company's progress in achieving its outsized long-term financial

goals, including increasing revenues to exceed $1 billion by 2020, through Emergent' s ongoing

successful efforts to obtain a renewal of the CDC BioThrax procurement contract and significantly

increasing the Company's sales of BioThrax to the U.S. government tlu·ough the build-out and

anticipated approval of Building 55, stating in pertinent part as follows:

       As we always do , we've established certain goals that we plan to achieve by the end
       of the plan period of 2016 to 2020. The strategic goals include a specific goal
       around revenue growth which we intend to exceed $1 billion in total revenue by the
       end of 2020 of which greater than 10% is targeted to be from customers outside of
       the US. Tftis growth will be ac/1ievedfrom existing products, from new product
       launches as well as through M&A of products and teclu1ologies.

       Secondly in the area of development, we've continued to focus and have set a goal
       around the development of six products in clinical and advanced development by
       2020, three of which are designated dual use technologies. And finally, we continue
       to commit to grow aggressively on net income and to establish the compound
       annual growth rate for net income of greater than 20% by the end of 2020. This
       will require us to continue to control our net R&D spin to require us to carefully
       manage our selling, general and administrative expenses. And with the revenue
       growth, this results in an EBITDA projection of an excess of $350 million by the
       end of 2020. By comparison for 2015, that number was $130 million.

        As we have year-by-year, we'll establish certain operational goals in support of our
        long-range plans. These goals for 2016 include the completion of the spin-off of
        Aptevo Therapeutics by midyear of 2016. They include the licensure ofBuilding 55,
        our large scale manufacturing facility BioThrax in Lancing. It includes securing


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       of a new multiyearfol/ow-on contract for BioThrax with CDC. Earlier tltis year
       we 're pleased to be informed of CDC's commitment to put a follow-on contract in
       place by October 1, thereby ensuring an uninterrupted supply ofBioThra.,-x: into the
       strategic national stockpile. And finally, to complete additional strategic acquisition
       that aligns with our core competencies in support of our growth plan.

       With this plan in place, we anticipate making significant progress on our vision of
       protecting and enhancing 50 million lives by 2025. This vision will inform
       everything we do as we establish Emergent as a market leader with a global impact,
       a financial leader generating consistent revenue, earnings growth and substantial
       positive returns for our shareholders and, finally , an industry leader remaining true
       to our mission, our core purpose and values.

       52.     The price of Emergent common stock continued rising on defendants' positive

statements, reaching a Class Period high of $44.38 per share on June 7, 2016.

       53 .    On June 15, 20 16, the Company issued a release announcing that the FDA had

granted Emergent Orphan Drug status for BioThrax for post-exposure prophylaxis (" PEP") of

anthrax disease resulting from suspected or confirmed Bacillus anthracis. According to the release,

the Orphan Drug status provided market exclusivity tlu·ough November 2022, representing seven

years from the date on which FDA approved the PEP indication for BioTlu·ax. The release fmiher

emphasized that BioTlu·ax remained "the only FDA-licensed vaccine for anthrax disease," now

" indicated for both pre-exposure and post-exposure prophylaxis of antlu·ax disease," and quoted

Defendant Havey stating in pertinent pmi that BioTiu·ax continued to "play[] a significant role in

the U.S. government's biosecurity efforts."

       54.     On June 17, 2016, Emergent issued a release announcing that the FDA had accepted

Emergent' s sBLA for Building 55, again emphasizing that build-out of Building 55 was "intended

to increase the manufacturing capacity for BioThrax to an estimated 20 to 25 million doses

annually," in "response to the U.S. government's desire to stockpile 75 million doses of a licensed

anthrax vaccine," stating in pertinent pmi as follows:

       Emergent ... today announced that the U.S. Food and Drug Administration (FDA)
       has accepted for review Emergent' s supplemental Biologics License Application


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       (sBLA) seeking approval of the manufacture of BioThrax® (Anthrax Vaccine
       Adsorbed) in Building 55, the company's large-scale manufacturing facility. FDA
       has set a Prescription Drug User Fee Act (PDUFA) target action date of August 15,
       2016.

       "Emergent' s large-scale manufacturing facility, intended to increase the
       manufacturing capacity for BioThrax to an estimated 20 to 25 million doses
       annually, is a response to the U.S. government's desire to stockpile 75 million
       doses of a licensed anthrax vaccine," said Adam Havey, executive vice president
       and president, biodefense division at Emergent BioSolutions. " We look forward to
       our continued collaboration with the U.S. government to help in its commitment to
       protect the nation against public health threats such as anthrax."

       The sBLA, submitted on April 15, 2016, is supported by data that demonstrate that
       BioT!u·ax manufactured at large scale in Building 55 is comparable to BioThrax
       manufactured in the currently-licensed facility . BioThrax, the only FDA-licensed
       anthrax vaccine, is indicated for both pre-exposure and post-exposure prophylaxis of
       anthrax disease.

       This program is fully funded at $104 million under contract number
       HHSO 100201000034C by the Biomedical Advanced Research and Development
       Authority within the Office of the Assistant Secretary for Preparedness and Response
       in the U.S. Department of Health and Human Services.

       55.     On June 2 1, 2016, Emergent issued a release announcing that the FDA had completed

its pre-approval inspection of Building 55, stating in pertinent pait as follows:

       Emergent . .. today announced that the U.S. Food and Drug Administration (FDA)
       has completed its Pre-Approval Inspection (PAI) of Building 55, the company's
       facility for large-scale manufacturing ofBioThrax® (Anthrax Vaccine Adsorbed). At
       the conclusion of the inspection, the company received a No Action Indicated
       decision and no Form 483 observations. Successful completion of the PAI is one of
       the requirements for Building 55 licensure in connection with the company's
       supplemental Biologics License Application (sBLA) recently accepted by the FDA.
       The sBLA has a Prescription Drug User Fee Act (PDUFA) target action date of
       August 15, 2016.

       "Emergent is pleased to have reached this critical milestone in our BioThrax
       comparability program. The positive outcome from this pre-approval inspection is a
       testament to our employees' tireless effo1ts, to our substantial financial investment in
       Building 55, and to our strong partnership with BARDA," said Adam Havey,
       executive vice president and president, biodefense division at Emergent
       BioSolutions. "We look forward to timely completing the process for securing FDA
       licensure of our facility."




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       The BioThrax comparability program is fully funded at $ 104 million under contract
       number HHSO I 00201000034C by the Biomedical Advanced Research and
       Development Authority within the Office of the Assistant Secretary for Preparedness
       and Response in the U.S . Depmiment of Health and Human Services.

       56.     The statements referenced herein   at ~~ _-_   were materially false and misleading as

they failed to disclose following adverse facts which were known to defendants or recklessly

disregarded by them, as follows:

               (a)     that the U.S. government's demand for purchasing additional stockpiles of

Emergent' s first-generation antlu·ax vaccine, BioThrax, had actually significantly declined prior to

the start of the Class Period; and instead, the U.S. government had made funding the development of

alternative, faster-acting, next-gen anthrax vaccines its top priority; and

               (b)     due to Emergent' s concealment of what it knew of the U.S. government's

decreased demand for purchasing additional stockpiles of Emergent' s first-generation anthrax

vaccine, BioThrax, the Company was not on track to achieve the business and financial results

Defendants led the market to believe the Company was on track to achieve during the Class Period.

       57.     On June 22, 2016, Emergent issued a release di sclosing that "on June 21, 2016, the

U.S . Department of Health and Human Services (HHS) issued two solicitation notices with respect

to the development and procurement of anthrax vaccines for the Strategic National Stockpile

(SNS)."    Down significantly from the 39 million BioThrax doses the Company had already

delivered the U.S. government through the end of the first quarter 2016 of the 44. 75 million doses

called for by its existing five-year exclusive contract (then set to expire on October 1, 2016),

Emergent disclosed that through the first of the two solicitation notices, the U.S. government only

sought "the continued procurement of 29.4 million doses of BioThrax" over a five-year period. Not

only was the U.S. government not increasing its purchases of BioTlu·ax to build a 75 million dose

stockpile ofBioThrax, the renewal contract had the U.S. government purchasing more than one-third



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less BioTlu·ax than the 2011 procurement contract had called for. As such, only 6 million, instead of

the 19 million doses investment analysts had been expecting to be purchased, would be actually

purchased during fiscal year 2016.

       58.     Instead, through the second solicitation notice, the Company disclosed that the U.S.

government actually sought the "procurement of up to 27 million dose regimens of a next

generation anthrax vaccine."      It also disclosed that the U.S. govermnent was putting the

procurement bid for the up to 27 million dose next-gen anthrax vaccine out for public bid, rather

than "sole sourcing" it through Emergent as the 2011 procurement contract had done, stating in

pertinent part as follows:



       Notice of Solicitation for Next Generation Anthrax Vaccine

       In addition, HHS issued a request for proposal seeking a next generation anthrax
       vaccine (Solicitation No. 16-100-SOL-OOO 15) for post-exposure prophylaxis of
       antlu·ax disease. The vaccine candidate must have the ability to confer protection in
       one or two doses, a favorable safety profile following completion of clinical studies
       tlu·ough Phase 2, demonstrated efficacy in non-clinical studies, and manufacturing
       consistency necessary to advance towards approval by Emergency Use
       Authorization. The contract, anticipated to contain a base period of five years is for
       the development of the vaccine candidate to Ii censure as well as for the purchase and
       delivery of an initial two million doses of a next generation antlu·ax vaccine to the
       SNS, with potential additional procurement of 12 million doses up to 25 million dose
       regimens of final drug product.

        59.    As such, there was a potential that the U.S. government would purchase only 14

million doses of the next-gen anthrax vaccine under the new contract, and those sales were not

guaranteed to Emergent even if it did eventually get it's a next-gen antlu·ax vaccine of its own

approved.

        60.     On this news, on June 22, 2016 the price of Emergent common stock declined by

approximately $8 per share, falling from its close of $39.32 per share on June 21st to close at $31 .33

on June 22nd, down almost 30% from its Class Period high, on very unusually high trading volume


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of more than 9.5 million shares trading, or 2 l x the average daily trading volume over the preceding

ten trading days.

       6 1.    As lamented by stock analyst Jim Molloy from Laidlaw & Company in his client note

issued that day, "EBS stock is lower today on news that the next US Government (USG) BioThrax

procurement contract is likely in the 29.4M dose range, far lower than the cunent 44.8M dose

contract, and well below what we (and investors) had believed would be the award size." Molloy' s

client note fmiher lamented that "the small BioThrax contract reflects the USG desire to transition

over to a next-gen vaccine over the coming years."

                                       NO SAFE HARBOR

       62.     Emergent' s "Safe Harbor" warnings accompanying its reportedly forward-looking

statements ("FLS") issued during the Class Period were ineffective to shield those statements from

liability. Because most of the false and misleading statements related to existing facts or conditions,

the Safe Harbor has no applicability. To the extent that known trends should have been included in

the Company's financial repo1is prepared in accordance with GAAP, they are excluded from the

protection of the statutory Safe Harbor. 15 U.S .C. §78u-5(b)(2)(A).

       63 .    The Defendants are also liable for any false or misleading FLS pleaded because, at

the time each FLS was made, the speaker knew the FLS was false or misleading and the FLS was

authorized and/or approved by an executive officer and/or director of Emergent who knew that the

FLS was false. In addition, the FLS were contradicted by existing, undisclosed material facts that

were required to be disclosed so that the FLS would not be misleading. Finally most of the

purported " Safe Harbor" warnings were themselves misleading because they warned of "risks" that

had already materialized or failed to provide meaningful disclosures of the relevant risks.




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                        ADDITIONAL SCIENTER ALLEGATIONS

       64.     As alleged herein, Defendants acted with scienter in that Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced in

the issuance or dissemination of such statements or documents as primary violations of the federal

securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of their receipt of

information reflecting the true facts regarding Emergent, their control over, and/or receipt of

modification of Emergent' s allegedly materially misleading misstatements and/or their associations

with the Company which made them privy to confidential proprietary infonnation concerning

Emergent, pai1icipated in the fraudulent scheme alleged herein.

       65.     With the price of Emergent stock ai1ificially inflated, ce11ain of the Company's senior

executives and directors cashed in, sell ing their personally-held Emergent stock at fraud-inflated

prices, including each of the Individual Defendants who sold the following 363,3 13 shares receiving

more than $14.5 million in gross proceeds:

 DEFENDANT           DATE        SHARES SOLD                PRICE               GROSS PROCEEDS


   El-Hibri        04/06/16        50,000            $38.50-$39.50                    $ 1,950,000
                   04/18/16        20,791                $40.50                         $842,035
                   04/22/16         4,209                $40.50                         $ 170,464
                   05/12/16        25,000                $38.71                         $967,750
                   05/23/16        45,000            $42 .50-$42.76                   $1,918,000
                   05/24/16        20,000                $42.26                         $845,200
                   05/25/16        20,000                $42.57                         $85 1,400
                   05/26/16        39,759            $42.90-$43.50                    $1,718,000
                   05/27/16         9,835                $43.50                         $427,822
                                  234,594                                             $9,690,671

 Abdun-Nabi        04/18/16         8,702                $40.17                         $349,559
                   05120116         8,701                $42.00                         $365,442
                   06/01/16         8,699                $43 .74                        $380,494
                                   26,102                                             $1,095,443


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   Kramer            04/01/16       43 ,572           $35.48-$35.93                    $1,556,000
                     04/04/16       21,788               $36.90                         $804,000
                     04/06/16       21,786               $38.90                         $847,000
                                    87,146                                             $3,207,000

    Havey            03111116       11 ,112               $33.84                        $376,000
                     03114116        4,359                $33.96                        $148,000
                                    15,471                                              $524.000

    Totals                         363,313                                           $14,517,114


                     APPLICABILITY OF PRESUMPTION OF RELIANCE:
                          FRAUD-ON-THE-MARKET DOCTRINE

       66.     At all relevant times, the market for Emergent' s common stock was an efficient

market for the following reasons, among others:

               (a)      Emergent' s stock met the requirements for listing, and was listed and actively

traded on the NYSE, a highly efficient and automated market;

               (b)      According to the Company's Form 10-Q filed May 6, 2016, the Company had

more than 40 million shares outstanding as of April 29, 2016. During the Class Period, on average,

more than 557 ,000 shares of Emergent stock were traded on a daily basis, demonstrating a very

active and broad market for Emergent stock and permitting a very strong presumption of an efficient

market;

               (c)      Emergent claims to be qualified to file a less comprehensive Form S-3

registration statement with the SEC that is reserved, by definition, to well-established and largely

capitalized issuers for whom less scrutiny is required;

               (d)      as a regulated issuer, Emergent filed periodic public reports with the SEC;

               (e)      Emergent regularly communicated with public investors via established

market communication mechanisms, including regular disseminations of press releases on the




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national circuits of major newswire services, the Internet and other wide-ranging public disclosures,

such as communi cations with the financial press and other similar reporting services;

                (f)     Emergent was followed by many securities analysts who wrote rep011s that

were distributed to the sales force and certain customers of their respective firms during the Class

Period. Each of these rep011s was publicly avai lable and entered the public marketplace;

                (g)     numerous National Association of Securities Dealers ("NASD") member

firms were active market-makers in Emergent stock at all times during the Class Period; and

                (h)     unexpected material news about Emergent was rapidly reflected m and

incorporated into the Company's stock price during the Class Period.

        67.     As a result of the foregoing, the market for Emergent common stock promptly

digested current information regarding Emergent from publicly available sources and reflected such

information in Emergent' s stock price. Under these circumstances, all purchasers of Emergent

common stock during the Class Period suffered similar inj ury through their purchase of Emergent

common stock at ai1ificially inflated prices, and a presumption of reliance applies.

                                        LOSS CAUSATION

        68.     During the Class Period, as detailed herein, Defendants made fal se and misleading

statements, and omitted material inf01mation, concerning Emergent' s business fundamentals and

engaged in a scheme to deceive the market. By ai1ificially inflating and manipulating Emergent' s

stock price, Defendants deceived Plaintiff and the Class and caused them losses when the truth was

revealed. When Defendants ' prior misrepresentations and fraudulent conduct became apparent to

the market, it caused Emergent' s stock price to fall precipitously as the prior ai1ificial inflation came

out of the stock price. As a result of their purchases of Emergent securities during the C lass Period,

Plaintiff and other members of the Class suffered economic loss, i.e., damages, under the federal

securities laws.


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                               CLASS ACTION ALLEGATIONS

       69.     This is a class action on behalf of those who purchased or otherwise acquired

Emergent common stock between January 11 , 2016 and June 21, 2106, inclusive, excluding

Defendants (the "Class"). Excluded from the Class are officers and directors of the Company as

well as their families and the families of the Defendants. Class members are so numerous that

joinder of them is impracticable.

       70.     Common questions oflaw and fact predominate and include whether Defendants: (a)

violated the Exchange Act; (b) omitted and/or misrepresented material facts; (c) knew or recklessly

disregarded that their statements were false; (d) artificially inflated the price of Emergent common

stock; and (e) the extent of and appropriate measure of damages.

        71.     Plaintiffs claims are typical of those of the Class. Prosecution of individual actions

would create a risk ofinconsistent adjudications. Plaintiff will adequately protect the interests of the

Class. A class action is superior to other available methods for the fair and efficient adjudication of

this controversy.

                                              COUNT I

                       For Violation of Section lO(b) of the Exchange Act
                            and Rule lOb-5 Against All Defendants

        72.     Plaintiff repeats and realleges the above paragraphs as though fully set forth herein.

        73.     Throughout the Class Period, Defendants Emergent and the Individual Defendants, in

pursuit of their scheme and continuous course of conduct to inflate the m arket price of Emergent

common stock, had the ultimate authority for making, and knowingly or recklessly made, materially

false or misleading statements or failed to disclose material facts necessary to make the statements

made , in light of the circumstances under which they were made, not misleading.




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       74.     During the Class Period, Defendants Emergent and the Individual Defendants, and

each of them, carried out a plan, scheme, and course of conduct using the instrumentalities of

interstate commerce and the mails, which was intended to and, tlu·oughout the Class Period did: (a)

artificially inflate and maintain the market price of Emergent common stock; (b) deceive the

investing public, including Plaintiff and other Class members, as alleged herein; (c) cause Plaintiff

and other members of the Class to purchase Emergent conunon stock at inflated prices; and (d) cause

them losses when the truth was revealed. In furtherance of this unlawful scheme, plan and course of

conduct, Defendants Emergent and the Individual Defendants, and each of them, took the actions set

forth herein, in violation of§ 1O(b) of the Exchange Act and Rule 1Ob-5, 17 C.F.R. §240.1 Ob-5. All

Defendants are sued either as primary paiticipants in the wrongful and illegal conduct charged herein

or as controlling persons as alleged below.

       75.     In addition to the duties of full disclosure imposed on Defendants Emergent and the

Individual Defendants as a result of their affirmative false and misleading statements to the investing

public, these Defendants had a duty to promptly disseminate truthful information with respect to

Emergent' s operations and performance that would be material to investors in compliance with the

integrated disclosure provisions of the SEC, including with respect to the Company's revenue and

earnings trends, so that the market price of the Company's securities would be based on truthful,

complete and accurate information. SEC Regulations S-X (17 C.F.R. §2 10.01, et seq.) and S-K (17

C.F.R. §229.10, et seq.).

       76.     Defendants Emergent and the Individual Defendants had actual knowledge of the

misrepresentations and omissions of material facts set forth herein or acted with reckless disregard

for the truth in that they failed to ascertain and disclose such facts, even though such facts were

either known or readily available to them.




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       77.     As a result of the dissemination of the materially false and misleading information

and failure to di sclose material facts as set fo11h above, the market price of Emergent common stock

was artificially inflated during the Class Period. In ignorance of the fact that the market price of

Emergent common stock was artificially inflated, and relying directly or indirectly on the false and

misleading statements made knowingly or with deliberate recklessness by Defendants Emergent and

the Indi vidual Defendants, or upon the integrity of the market in which the shares traded, Plaintiff

and other members of the Class purchased Emergent stock during the Class Period at artificially high

pri ces and, when the truth was revealed, were damaged thereby.

       78.     Had Plaintiff and the other members of the Class and the marketplace known of the

true facts , which were knowingly or recklessly concealed by Defendants Emergent and the

Individual Defendants, Plaintiff and the other members of the Class would not have purchased or

otherwise acquired their Emergent shares during the Class Peri od, or if they had acquired such

shares during the Class Period, they would not have done so at the artificially infl ated prices which

they paid.

       79.     By virtue of the foregoing, Defendants Emergent and the Individual Defendants have

violated§ 1O(b) of the Exchange Act and Rule 1Ob-5 promulgated thereunder. 17 C.F.R. §240. l 0-5.

                                             COUNT II

                          For Violation of §20(a) of the Exchange Act
                              Against the Individual Defendants

        80.    Plaintiff repeats and realleges the above paragraphs as though fully set f011h herein.

        81.    Defendants the Individual Defendants had control over Emergent and made the

material false and mi sleading statements and omissions on behalf of Emergent within the meaning of

§20(a) of the Exchange Act as alleged herein. By vi11ue of his controlling shareholder status,

executive positions, board membership, and stock ownership, and his culpable participation, as



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alleged above, the Individual Defendants had the power to influence and contro l and did, directly or

indirectly, influence and control the decision making of the Company, including the content and

dissemination of the various statements which Plaintiff contends were false and misleading. The

Individual Defendants were provided with or had unlimited access to the Company' s internal

reports, press releases, public filings, and other statements alleged by Plaintiff to be misleading prior

to or shortly after these statements were issued, and had the ability to prevent the issuance of the

statements or cause them to be corrected.

          82.    In particular, the Individual Defendants had direct involvement in and responsibility

over the day-to-day operations of the Company and, therefore, are presumed to have had the power

to control or influence the particular transactions giving rise to the securities violations as alleged

herein.

          83.    By reason of such wrongful conduct, the Individual Defendants is liable pursuant to

§20(a) of the Exchange Act. As a direct and proximate result of the Individual Defendants'

wrongful conduct, Plaintiff and the other members of the Class suffered damages in connection with

their purchases of the Company's common stock during the Class Period.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for judgment as follows:

          A      Determining that this action is a proper class action, designating Plaintiff as Lead

Plaintiff and certifying Plaintiff as a Class representative under Rule 23 of the Federal Rules of Civil

Procedure and Plaintiffs counsel as Lead Counsel;

          B.     Awarding compensatory damages in favor of Plaintiff and the other Class members

against all Defendants, jointly and severally, for all damages sustained as a result of Defendants'

wrongdoing, in an amount to be proven at trial , including interest thereon;




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       C.      Awarding Plaintiff and the Class their reasonable costs and expenses incurred in this

action, including counsel fees and expert fees ; and

       D.      Awarding such other and further relief as the Court may deem just and proper.

                                        JURY DEMAND

       Plaintiff demands a trial by jury.

DATED: July 19, 2016                           ~ w.llt/U0
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